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                                           November 4, 2020

VIA ECF AND EMAIL

The Honorable John P. Cronan
United States District Judge
United States District Court
Southern District of New York
500 Pearl Street, Room 1320
New York, NY 10007


          Re:        Soto v. The Village in Times Square LLC et al. (1:20-cv- 05463-JPC)
                     Request for Adjournment of Initial Pre-Trial Conference

Dear Judge Cronan:

        We represent defendants The Village in Times Square LLC, Giovanni Carollo, and
Artemio Cielo (collectively, “Defendants”) in the above-referenced matter. On behalf of
Defendants, and with the consent of plaintiff Jose Manuel Xitumul Soto (“Plaintiff”), we
respectfully request an adjournment of the Initial Pretrial Conference (the “Conference”) scheduled
for November 12, 2020, and of the related November 5, 2020 deadline for the parties to submit a
joint pre-Conference letter and proposed case management plan and scheduling order.

        Defendants accepted a waiver of service of the complaint filed in this action yesterday,
November 3, 2020. As such, Defendants were unable to submit this request more than 48 hours
before the parties’ joint pre-Conference letter and proposed case management plan and scheduling is
due to the Court. Defendants’ time to respond to the Complaint is currently January 4, 2021. We
respectfully request that the Conference be adjourned to a date and time of the Court’s convenience
during the week of January 11, 2021, and that the deadline for the parties to submit a pre-
Conference letter and proposed case management plan and scheduling order be adjourned to one
week prior to the Conference, so that we may have sufficient time to investigate Plaintiff’s claims
and prepare our clients’ defenses prior to the Conference.

        This application is Defendants’ first request for an adjournment of the Conference and the
related deadline for submission of a joint pre-Conference letter and proposed case management plan
and scheduling order. No other dates will be affected by this request. Plaintiff consents to this
request for an adjournment.




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The Honorable John P. Cronan
November 4, 2020
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        We thank the Court for its consideration of our request.

                                                          Respectfully submitted,
                                                          /s/ Alexander Bogdan
                                                          Alexander Bogdan

cc:     All Counsel of Record. (via ECF)




Defendants' request is GRANTED. The pretrial conference scheduled for November 12, 2020 at 11:30 a.m. is adjourned to
January 12, 2021 at 12:00 p.m. At the scheduled time, counsel for all parties should call (866) 434-5269, access code
9176261. It is further ORDERED that the parties shall submit the joint letter described in the Court's Notice of
Reassignment dated October 13, 2020 (Dkt. 11) by January 5, 2021.


SO ORDERED.
Date: November 4, 2020             ___________________________
                                   JOHN P. CRONAN
      New York, New York           United States District Judge




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